              Case 21-22232-CMB                                                 Doc 8                   Filed 10/14/21 Entered 10/14/21 11:31:49                                   Desc Main
                                                                                                        Document     Page 1 of 9
    )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH


    'HEWRU                     Vonnette             M.                  Warren
                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                              &KHFNLIWKLVLVDQDPHQGHG
                                )LUVW1DPH0LGGOH1DPH/DVW1DPH
                                                                                                                                                                         SODQDQGOLVWEHORZWKH
                                                                                                                                                                         VHFWLRQVRIWKHSODQWKDWKDYH
    'HEWRU                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        6SRXVHLIILOLQJ       )LUVW1DPH0LGGOH1DPH/DVW1DPH
                                                                                                                                                                         EHHQFKDQJHG


    8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:HVWHUQ'LVWULFWRI3HQQV\OYDQLD


            &DVHQXPEHU        21-22232
        LINQRZQ 




   :HVWHUQ'LVWULFWRI3HQQV\OYDQLD
   &KDSWHU3ODQ'DWHG October 14, 2021
   3DUW              1RWLFHV

   7R'HEWRUV                   7KLVIRUPVHWVRXWRSWLRQVWKDWPD\EHDSSURSULDWHLQVRPHFDVHVEXWWKHSUHVHQFHRIDQRSWLRQRQWKHIRUPGRHVQRW
                                 LQGLFDWH WKDW WKH RSWLRQ LV DSSURSULDWH LQ \RXU FLUFXPVWDQFHV  3ODQV WKDW GR QRW FRPSO\ ZLWK ORFDO UXOHV DQG MXGLFLDO
                                 UXOLQJVPD\QRWEHFRQILUPDEOH7KHWHUPVRIWKLVSODQFRQWUROXQOHVVRWKHUZLVHRUGHUHGE\WKHFRXUW

                                 ,QWKHIROORZLQJQRWLFHWRFUHGLWRUV\RXPXVWFKHFNHDFKER[WKDWDSSOLHV

   7R&UHGLWRUV                YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED.

                                 <RXVKRXOGUHDGWKLVSODQFDUHIXOO\DQGGLVFXVVLWZLWK\RXUDWWRUQH\LI\RXKDYHRQHLQWKLVEDQNUXSWF\FDVH,I\RXGRQRWKDYHDQ
                                 DWWRUQH\\RXPD\ZLVKWRFRQVXOWRQH

                                 IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR YOUR
                                 ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE DATE SET FOR
                                 THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT MAY CONFIRM THIS
                                 PLAN WITHOUT FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED. SEE BANKRUPTCY RULE 3015. IN
                                 ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM IN ORDER TO BE PAID UNDER ANY PLAN.

                                 7KHIROORZLQJPDWWHUVPD\EHRISDUWLFXODULPSRUWDQFHDebtor(s) must check one box on each line to state whether the plan
                                 includes each of the following items. If the “Included” box is unchecked or both boxes are checked on each line, the
                                 provision will be ineffective if set out later in the plan.


           $OLPLWRQWKHDPRXQWRIDQ\FODLPRUDUUHDUDJHVVHWRXWLQ3DUWZKLFKPD\UHVXOWLQDSDUWLDO
              SD\PHQW RU QR SD\PHQW WR WKH VHFXUHG FUHGLWRU D VHSDUDWH DFWLRQ ZLOO EH UHTXLUHG WR                                                             ,QFOXGHG      1RW,QFOXGHG
              HIIHFWXDWHVXFKOLPLW
         $YRLGDQFHRIDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVHPRQH\VHFXULW\LQWHUHVWVHWRXWLQ
            6HFWLRQ DVHSDUDWHDFWLRQZLOOEHUHTXLUHGWRHIIHFWXDWHVXFKOLPLW                                                                                         ,QFOXGHG       1RW,QFOXGHG

         1RQVWDQGDUGSURYLVLRQVVHWRXWLQ3DUW                                                                                                                       ,QFOXGHG       1RW,QFOXGHG



  3DUW               3ODQ3D\PHQWVDQG/HQJWKRI3ODQ


'HEWRU V ZLOOPDNHUHJXODUSD\PHQWVWRWKHWUXVWHH
                        1,682.00
    7RWDO DPRXQW RI BBBBBBBBBBBBBB                                                60 PRQWKV VKDOO EH SDLG WR WKH WUXVWHH IURP IXWXUH HDUQLQJV DV
                                        SHU PRQWK IRU D UHPDLQLQJ SODQ WHUP RI BBBBB
    IROORZV
     3D\PHQWV                   %\,QFRPH$WWDFKPHQW                                  'LUHFWO\E\'HEWRU                                    %\$XWRPDWHG%DQN7UDQVIHU

     '                                                                                   1,682.00                                    

     '                                                                                                                               

        ,QFRPHDWWDFKPHQWVPXVWEHXVHGE\GHEWRUVKDYLQJDWWDFKDEOHLQFRPH  66$GLUHFWGHSRVLWUHFLSLHQWVRQO\




3$:%/RFDO)RUP                                                                                                   &KDSWHU3ODQ                                                     3DJHRI
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     $GGLWLRQDOSD\PHQWV

                 8QSDLG)LOLQJ)HHV7KHEDODQFHRI                                      VKDOOEHIXOO\SDLGE\WKH7UXVWHHWRWKH&OHUNRIWKH%DQNUXSWF\&RXUWIURPWKHILUVW
                 DYDLODEOHIXQGV
            &KHFNRQH

                  1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                  7KH GHEWRU V  ZLOO PDNH DGGLWLRQDO  SD\PHQW V  WR WKH WUXVWHH IURP RWKHU VRXUFHV DV VSHFLILHG EHORZ 'HVFULEH WKH VRXUFH HVWLPDWHG
                  DPRXQWDQGGDWHRIHDFKDQWLFLSDWHGSD\PHQW




         7KHWRWDODPRXQWWREHSDLGLQWRWKHSODQ SODQEDVH VKDOOEHFRPSXWHGE\WKHWUXVWHHEDVHGRQWKHWRWDODPRXQWRISODQSD\PHQWV
             SOXVDQ\DGGLWLRQDOVRXUFHVRISODQIXQGLQJGHVFULEHGDERYH


      3DUW          7UHDWPHQWRI6HFXUHG&ODLPV


     0DLQWHQDQFHRISD\PHQWVDQGFXUHRIGHIDXOWLIDQ\RQ/RQJ7HUP&RQWLQXLQJ'HEWV

            &KHFNRQH

                  1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                  7KHGHEWRU V ZLOOPDLQWDLQWKHFXUUHQWFRQWUDFWXDOLQVWDOOPHQWSD\PHQWVRQWKHVHFXUHGFODLPVOLVWHGEHORZZLWKDQ\FKDQJHVUHTXLUHGE\
                  WKHDSSOLFDEOHFRQWUDFWDQGQRWLFHGLQFRQIRUPLW\ZLWKDQ\DSSOLFDEOHUXOHV7KHVHSD\PHQWVZLOOEHGLVEXUVHGE\WKHWUXVWHH$Q\H[LVWLQJ
                  DUUHDUDJH RQ D OLVWHG FODLP ZLOO EH SDLG LQ IXOO WKURXJK GLVEXUVHPHQWV E\ WKH WUXVWHH ZLWKRXW LQWHUHVW  ,I UHOLHI IURP WKH DXWRPDWLF VWD\ LV
                  RUGHUHGDVWRDQ\LWHPRIFROODWHUDOOLVWHGLQWKLVSDUDJUDSKWKHQXQOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWDOOSD\PHQWVXQGHUWKLVSDUDJUDSK
                  DVWRWKDWFROODWHUDOZLOOFHDVHDQGDOOVHFXUHGFODLPVEDVHGRQWKDWFROODWHUDOZLOOQRORQJHUEHWUHDWHGE\WKHSODQ
            1DPHRIFUHGLWRU                                      &ROODWHUDO                                           &XUUHQW                $PRXQWRI                   6WDUWGDWH
                                                                                                                       LQVWDOOPHQW            DUUHDUDJH LI               00<<<<
                                                                                                                       SD\PHQW                DQ\
                                                                                                                        LQFOXGLQJHVFURZ
             1. M & T Bank                                          4109 Murray Ave., Pittsburgh, PA 15217                    $1,227.00               $1,227.00              10/2021
             2. First National Bank                                 2015 Subaru Impreza                                     $380.00               $380.00                 10/2021




            ,QVHUWDGGLWLRQDOFODLPVDVQHHGHG

     5HTXHVWIRUYDOXDWLRQRIVHFXULW\SD\PHQWRIIXOO\VHFXUHGFODLPVDQGPRGLILFDWLRQRIXQGHUVHFXUHGFODLPV

            &KHFNRQH
                  1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                  The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                  7KHGHEWRU V ZLOOUHTXHVWby filing a separate adversary proceedingWKDWWKHFRXUWGHWHUPLQHWKHYDOXHRIWKHVHFXUHGFODLPVOLVWHG
                  EHORZ

            )RUHDFKVHFXUHGFODLPOLVWHGEHORZWKHGHEWRU V VWDWHWKDWWKHYDOXHRIWKHVHFXUHGFODLPVVKRXOGEHDVVHWRXWLQWKHFROXPQKHDGHG
            Amount of secured claim)RUHDFKOLVWHGFODLPWKHYDOXHRIWKHVHFXUHGFODLPZLOOEHSDLGLQIXOOZLWKLQWHUHVWDWWKHUDWHVWDWHGEHORZ
            7KHSRUWLRQRIDQ\DOORZHGFODLPWKDWH[FHHGVWKHDPRXQWRIWKHVHFXUHGFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLPXQGHU3DUW,IWKH
            DPRXQW RI D FUHGLWRU¶V VHFXUHG FODLP LV OLVWHG EHORZ DV KDYLQJ QR YDOXH WKH FUHGLWRU¶V DOORZHG FODLP ZLOO EH WUHDWHG LQ LWV HQWLUHW\ DV DQ
            XQVHFXUHGFODLPXQGHU3DUW SURYLGHGWKDWDQDSSURSULDWHRUGHURIFRXUWLVREWDLQHGWKURXJKDQDGYHUVDU\SURFHHGLQJ 
            1DPHRIFUHGLWRU                (VWLPDWHGDPRXQW              &ROODWHUDO               9DOXHRI    $PRXQWRI     $PRXQWRI ,QWHUHVW                  0RQWKO\
                                            RIFUHGLWRU VWRWDO                                    FROODWHUDO   FODLPVVHQLRU VHFXUHG   UDWH                       SD\PHQWWR
                                            FODLP 6HH3DUD                                                WRFUHGLWRU V FODLP                                FUHGLWRU
                                            EHORZ                                                                FODLP

                                                                                                                                                              


            ,QVHUWDGGLWLRQDOFODLPVDVQHHGHG




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          &KHFNRQH

              1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

              7KHFODLPVOLVWHGEHORZZHUHHLWKHU

            ,QFXUUHGZLWKLQGD\VEHIRUHWKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOHDFTXLUHGIRUSHUVRQDO
          XVHRIWKHGHEWRU V RU

           ,QFXUUHGZLWKLQRQH  \HDURIWKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRIYDOXH

          7KHVHFODLPVZLOOEHSDLGLQIXOOXQGHUWKHSODQZLWKLQWHUHVWDWWKHUDWHVWDWHGEHORZ7KHVHSD\PHQWVZLOOEHGLVEXUVHGE\WKHWUXVWHH

          1DPHRIFUHGLWRU                       &ROODWHUDO                                       $PRXQWRIFODLP       ,QWHUHVW       0RQWKO\SD\PHQW
                                                                                                                        UDWH            WRFUHGLWRU

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     /LHQ$YRLGDQFH

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              1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG           The remainder of this paragraph will be
              effective only if the applicable box in Part 1 of this plan is checked.
              7KHMXGLFLDOOLHQVRUQRQSRVVHVVRU\QRQSXUFKDVHPRQH\VHFXULW\LQWHUHVWVVHFXULQJWKHFODLPVOLVWHGEHORZLPSDLUH[HPSWLRQVWRZKLFKWKH
              GHEWRU V ZRXOGKDYHEHHQHQWLWOHGXQGHU86& E 7KHGHEWRU V ZLOOUHTXHVWby filing a separate motionWKDWWKHFRXUWRUGHU
              WKHDYRLGDQFHRIDMXGLFLDOOLHQRUVHFXULW\LQWHUHVWVHFXULQJDFODLPOLVWHGEHORZWRWKHH[WHQWWKDWLWLPSDLUVVXFKH[HPSWLRQV7KHDPRXQWRI
              DQ\MXGLFLDOOLHQRUVHFXULW\LQWHUHVWWKDWLVDYRLGHGZLOOEHWUHDWHGDVDQXQVHFXUHGFODLPLQ3DUWWRWKHH[WHQWDOORZHG7KHDPRXQWLIDQ\
              RIWKHMXGLFLDOOLHQRUVHFXULW\LQWHUHVWWKDWLVQRWDYRLGHGZLOOEHSDLGLQIXOODVDVHFXUHGFODLPXQGHUWKHSODQ6HH86& I DQG
              %DQNUXSWF\5XOH G ,IPRUHWKDQRQHOLHQLVWREHDYRLGHGSURYLGHWKHLQIRUPDWLRQVHSDUDWHO\IRUHDFKOLHQ

          1DPHRIFUHGLWRU                        &ROODWHUDO                                      0RGLILHGSULQFLSDO    ,QWHUHVW          0RQWKO\SD\PHQW
                                                                                                  EDODQFH                UDWH               RUSURUDWD

                                                                                                                                          


          ,QVHUWDGGLWLRQDOFODLPVDVQHHGHG

          ,IWKHOLHQZLOOEHZKROO\DYRLGHGLQVHUWIRU0RGLILHGSULQFLSDOEDODQFH
     6XUUHQGHURI&ROODWHUDO
          &KHFNRQH

              1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

              7KHGHEWRU V HOHFWWRVXUUHQGHUWRHDFKFUHGLWRUOLVWHGEHORZWKHFROODWHUDOWKDWVHFXUHVWKHFUHGLWRU¶VFODLP7KHGHEWRU V UHTXHVWWKDWXSRQ
              FRQILUPDWLRQRIWKLVSODQWKHVWD\XQGHU86& D EHWHUPLQDWHGDVWRWKHFROODWHUDORQO\DQGWKDWWKHVWD\XQGHU86&
              EHWHUPLQDWHGLQDOOUHVSHFWV$Q\DOORZHGXQVHFXUHGFODLPUHVXOWLQJIURPWKHGLVSRVLWLRQRIWKHFROODWHUDOZLOOEHWUHDWHGLQ3DUW

          1DPHRIFUHGLWRU                                                           &ROODWHUDO




          ,QVHUWDGGLWLRQDOFODLPVDVQHHGHG




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     6HFXUHGWD[FODLPV
          1DPHRIWD[LQJDXWKRULW\            7RWDODPRXQWRIFODLP 7\SHRIWD[                       ,QWHUHVW         ,GHQWLI\LQJQXPEHU V LI       7D[SHULRGV
                                                                                                       UDWH              FROODWHUDOLVUHDOHVWDWH



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          ,QVHUWDGGLWLRQDOFODLPVDVQHHGHG

            7KHVHFXUHGWD[FODLPVRIWKH,QWHUQDO5HYHQXH6HUYLFH&RPPRQZHDOWKRI3HQQV\OYDQLDDQGDQ\RWKHUWD[FODLPDQWVVKDOOEHDULQWHUHVW
          DWWKHVWDWXWRU\UDWHLQHIIHFWDVRIWKHGDWHRIFRQILUPDWLRQ


     3DUW       7UHDWPHQWRI)HHVDQG3ULRULW\&ODLPV


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          7UXVWHH¶VIHHVDQGDOODOORZHGSULRULW\FODLPVLQFOXGLQJ'RPHVWLF6XSSRUW2EOLJDWLRQVRWKHUWKDQWKRVHWUHDWHGLQ6HFWLRQZLOOEHSDLGLQIXOO
          ZLWKRXWSRVWSHWLWLRQLQWHUHVW

     7UXVWHH VIHHV

          7UXVWHH¶VIHHVDUHJRYHUQHGE\VWDWXWHDQGPD\FKDQJHGXULQJWKHFRXUVHRIWKHFDVH7KHWUXVWHHVKDOOFRPSXWHWKHWUXVWHH¶VSHUFHQWDJHIHHV
          DQGSXEOLVKWKHSUHYDLOLQJUDWHVRQWKHFRXUW¶VZHEVLWHIRUWKHSULRUILYH\HDUV,WLVLQFXPEHQWXSRQWKHGHEWRU V ¶DWWRUQH\RUGHEWRU LIpro se)DQG
          WKHWUXVWHHWRPRQLWRUDQ\FKDQJHLQWKHSHUFHQWDJHIHHVWRLQVXUHWKDWWKHSODQLVDGHTXDWHO\IXQGHG

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          $WWRUQH\¶V IHHV DUH SD\DEOH WRBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                               Dennis J. Spyra                              ,Q DGGLWLRQ WR D UHWDLQHU RI BBBBBBBBBB
                                                                                                                                 4145.00       RI ZKLFK BBBBBBBBBB
                                                                                                                                                           250.00        ZDV D
          SD\PHQWWRUHLPEXUVHFRVWVDGYDQFHGDQGRUDQRORRNFRVWVGHSRVLW DOUHDG\SDLGE\RURQEHKDOIRIWKHGHEWRUWKHDPRXQWRIBBBBBBBBBBLV          1105.00
          WREHSDLGDWWKHUDWHRIBBBBBBBBBBSHUPRQWK,QFOXGLQJDQ\UHWDLQHUSDLGDWRWDORIBBBBBBBBBBLQIHHVDQGFRVWVUHLPEXUVHPHQWKDVEHHQ
                                       200.00
          DSSURYHG E\ WKH FRXUW WR GDWH EDVHG RQ D FRPELQDWLRQ RI WKH QRORRN IHH DQG FRVWV GHSRVLW DQG SUHYLRXVO\ DSSURYHG DSSOLFDWLRQ V  IRU
          FRPSHQVDWLRQDERYHWKHQRORRNIHH$QDGGLWLRQDOBBBBBBBBBBZLOOEHVRXJKWWKURXJKDIHHDSSOLFDWLRQWREHILOHGDQGDSSURYHGEHIRUHDQ\
          DGGLWLRQDO DPRXQW ZLOO EH SDLG WKURXJK WKH SODQ DQG WKLV SODQ FRQWDLQV VXIILFLHQW IXQGLQJ WR SD\ WKDW DGGLWLRQDO DPRXQW ZLWKRXW GLPLQLVKLQJ WKH
          DPRXQWVUHTXLUHGWREHSDLGXQGHUWKLVSODQWRKROGHUVRIDOORZHGXQVHFXUHGFODLPV

                &KHFNKHUHLIDQRORRNIHHLQWKHDPRXQWSURYLGHGIRULQ/RFDO%DQNUXSWF\5XOH F LVEHLQJUHTXHVWHGIRUVHUYLFHVUHQGHUHGWRWKH
                GHEWRU V WKURXJKSDUWLFLSDWLRQLQWKHEDQNUXSWF\FRXUW¶V/RVV0LWLJDWLRQ3URJUDP GRQRWLQFOXGHWKHQRORRNIHHLQWKHWRWDODPRXQWRI
                FRPSHQVDWLRQUHTXHVWHGDERYH 

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                1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

           1DPHRIFUHGLWRU                                 7RWDODPRXQWRI            ,QWHUHVW          6WDWXWHSURYLGLQJSULRULW\VWDWXV
                                                            FODLP                       UDWH
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     3ULRULW\'RPHVWLF6XSSRUW2EOLJDWLRQVQRWDVVLJQHGRURZHGWRDJRYHUQPHQWDOXQLW

          ,I WKH GHEWRU V  LVDUH FXUUHQWO\ SD\LQJ 'RPHVWLF 6XSSRUW 2EOLJDWLRQV WKURXJK H[LVWLQJ VWDWH FRXUW RUGHU V  DQG OHDYHV WKLV VHFWLRQ EODQN WKH
          GHEWRU V H[SUHVVO\DJUHHVWRFRQWLQXHSD\LQJDQGUHPDLQFXUUHQWRQDOO'RPHVWLF6XSSRUW2EOLJDWLRQVWKURXJKH[LVWLQJVWDWHFRXUWRUGHUV


              &KHFNKHUHLIWKLVSD\PHQWLVIRUSUHSHWLWLRQDUUHDUDJHVRQO\

          1DPHRIFUHGLWRU VSHFLI\WKHDFWXDOSD\HHHJ3$          'HVFULSWLRQ                                   &ODLP                      0RQWKO\SD\PHQW
          6&'8                                                                                                                                   RUSURUDWD


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              1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

              7KH DOORZHG SULRULW\ FODLPV OLVWHG EHORZ DUH EDVHG RQ D 'RPHVWLF 6XSSRUW  2EOLJDWLRQ WKDW KDV EHHQ DVVLJQHG WR RU LV RZHG WR D
              JRYHUQPHQWDO XQLW DQG ZLOO EH SDLG OHVV WKDQ  WKH IXOO DPRXQW RI WKH FODLP XQGHU  86&    D    7KLV SURYLVLRQ UHTXLUHV WKDW
              SD\PHQWVLQ6HFWLRQEHIRUDWHUPRIPRQWKV6HH86& D  


          1DPHRIFUHGLWRU                                                                    $PRXQWRIFODLPWREHSDLG



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          1DPHRIWD[LQJDXWKRULW\                              7RWDODPRXQWRIFODLP 7\SHRIWD[                                ,QWHUHVW             7D[SHULRGV
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     3DUW       7UHDWPHQWRI1RQSULRULW\8QVHFXUHG&ODLPV


     1RQSULRULW\XQVHFXUHGFODLPVQRWVHSDUDWHO\FODVVLILHG

          'HEWRU V ESTIMATE(S)WKDWDWRWDORIBBBBBBBBBBZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRQRQSULRULW\XQVHFXUHGFUHGLWRUV
                                                 1000.00



          'HEWRU V ACKNOWLEDGE(S) WKDWD MINIMUM RIBBBBBBBBBBVKDOOEHSDLGWRQRQSULRULW\XQVHFXUHGFUHGLWRUVWRFRPSO\ZLWKWKHOLTXLGDWLRQ
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          DOWHUQDWLYHWHVWIRUFRQILUPDWLRQVHWIRUWKLQ86& D  

          7KH WRWDO SRRO RI IXQGV HVWLPDWHG DERYH LV NOT WKH MAXIMUM DPRXQW SD\DEOH WR WKLV FODVV RI FUHGLWRUV  ,QVWHDG WKH DFWXDO SRRO RI IXQGV
          DYDLODEOHIRUSD\PHQWWRWKHVHFUHGLWRUVXQGHUWKHSODQEDVHZLOOEHGHWHUPLQHGRQO\DIWHUDXGLWRIWKHSODQDWWLPHRIFRPSOHWLRQ7KHHVWLPDWHG
          SHUFHQWDJHRISD\PHQWWRJHQHUDOXQVHFXUHGFUHGLWRUVLVBBBBBBBBBB7KHSHUFHQWDJHRISD\PHQWPD\FKDQJHEDVHGXSRQWKHWRWDODPRXQW
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          RIDOORZHGFODLPV/DWHILOHGFODLPVZLOOQRWEHSDLGXQOHVVDOOWLPHO\ILOHGFODLPVKDYHEHHQSDLGLQIXOO7KHUHDIWHUDOOODWHILOHGFODLPVZLOOEHSDLG
          SURUDWDXQOHVVDQREMHFWLRQKDVEHHQILOHGZLWKLQWKLUW\  GD\VRIILOLQJWKHFODLP&UHGLWRUVQRWVSHFLILFDOO\LGHQWLILHGHOVHZKHUHLQWKLVSODQDUH
          LQFOXGHGLQWKLVFODVV

     0DLQWHQDQFHRISD\PHQWVDQGFXUHRIDQ\GHIDXOWRQQRQSULRULW\XQVHFXUHGFODLPV

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                1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                7KHGHEWRU V ZLOOPDLQWDLQWKHFRQWUDFWXDOLQVWDOOPHQWSD\PHQWVDQGFXUHDQ\GHIDXOWLQSD\PHQWVRQWKHXQVHFXUHGFODLPVOLVWHGEHORZRQ
                ZKLFKWKHODVWSD\PHQWLVGXHDIWHUWKHILQDOSODQSD\PHQW7KHVHSD\PHQWVZLOOEHGLVEXUVHGE\WKHWUXVWHH7KHFODLPIRUWKHDUUHDUDJH
                DPRXQWZLOOEHSDLGLQIXOODVVSHFLILHGEHORZDQGGLVEXUVHGE\WKHWUXVWHH
          1DPHRIFUHGLWRU                                          &XUUHQWLQVWDOOPHQW          $PRXQWRIDUUHDUDJH           (VWLPDWHGWRWDO              3D\PHQW
                                                                    SD\PHQW                       WREHSDLGRQWKHFODLP        SD\PHQWV                     EHJLQQLQJ
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          PRQWKO\FRPELQHGSD\PHQWIRUSRVWSHWLWLRQXWLOLW\VHUYLFHVDQ\SRVWSHWLWLRQGHOLQTXHQFLHVDQGXQSDLGVHFXULW\GHSRVLWV7KHFODLPSD\PHQWZLOO
          QRWFKDQJHIRUWKHOLIHRIWKHSODQ6KRXOGWKHXWLOLW\REWDLQDFRXUWRUGHUDXWKRUL]LQJDSD\PHQWFKDQJHWKHGHEWRU V ZLOOEHUHTXLUHGWRILOHDQ
          DPHQGHG SODQ  7KHVH SD\PHQWV PD\ QRW UHVROYH DOO RI WKH SRVWSHWLWLRQ FODLPV RI WKH XWLOLW\ 7KH XWLOLW\ PD\ UHTXLUH DGGLWLRQDO IXQGV IURP WKH
          GHEWRU V DIWHUGLVFKDUJH

          1DPHRIFUHGLWRU                                                        0RQWKO\SD\PHQW                  3RVWSHWLWLRQDFFRXQWQXPEHU



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                 1RQH,I1RQHLVFKHFNHGWKHUHVWRI6HFWLRQQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

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             1DPHRIFUHGLWRU                                     %DVLVIRUVHSDUDWHFODVVLILFDWLRQDQG            $PRXQWRIDUUHDUDJH,QWHUHVW            (VWLPDWHGWRWDO
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                 $VVXPHG LWHPV &XUUHQW LQVWDOOPHQW SD\PHQWV ZLOO EH GLVEXUVHG E\ WKH WUXVWHH  $UUHDUDJH SD\PHQWV ZLOO EH GLVEXUVHG E\ WKH
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                                                 H[HFXWRU\FRQWUDFW                            LQVWDOOPHQW            DUUHDUDJHWREH        SD\PHQWVE\            EHJLQQLQJ
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      3DUW        *HQHUDO3ULQFLSOHV$SSOLFDEOHWR$OO&KDSWHU3ODQV


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              H[WHQGHG DV QHFHVVDU\ E\ WKH WUXVWHH XS WR DQ\ SHULRG SHUPLWWHG E\ DSSOLFDEOH ODZ  WR LQVXUH WKDW WKH JRDOV RI WKH SODQ KDYH EHHQ DFKLHYHG
              1RWZLWKVWDQGLQJDQ\VWDWHPHQWE\WKHWUXVWHH¶VRIILFHFRQFHUQLQJDPRXQWVQHHGHGWRIXQGDSODQWKHDGHTXDF\RISODQIXQGLQJLQRUGHUWRPHHW
              WKH SODQ JRDOV UHPDLQV WKH VROH UHVSRQVLELOLW\ RI GHEWRU V  DQG GHEWRU V ¶ DWWRUQH\  ,W VKDOO EH WKH UHVSRQVLELOLW\ RI WKH GHEWRU V  DQG GHEWRU V ¶
              DWWRUQH\WRPRQLWRUWKHSODQWRHQVXUHWKDWWKHSODQUHPDLQVDGHTXDWHO\IXQGHGGXULQJLWVHQWLUHWHUP

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              GRFXPHQWDWLRQ RI VXFK FRPSOLDQFH E\ WKH WLPH RI WKH PHHWLQJ   'HEWRU V ¶ DWWRUQH\ RU GHEWRU V  LI pro se  VKDOO SURYLGH WKH WUXVWHH ZLWK WKH
              LQIRUPDWLRQQHHGHGIRUWKHWUXVWHHWRFRPSO\ZLWKWKHUHTXLUHPHQWVRI86&DVWRWKHQRWLILFDWLRQWREHJLYHQWR'RPHVWLF6XSSRUW
              2EOLJDWLRQ FUHGLWRUV DQG GHEWRU V ¶ DWWRUQH\ RU GHEWRU V  LI pro se  VKDOO SURYLGH WKH WUXVWHH ZLWK WKH FDOFXODWLRQV UHOLHG XSRQ WR GHWHUPLQH WKH
              GHEWRU V ¶FXUUHQWPRQWKO\LQFRPHDQGGLVSRVDEOHLQFRPH

         7KHGHEWRU V VKDOOKDYHDGXW\WRLQIRUPWKHWUXVWHHRIDQ\DVVHWVDFTXLUHGZKLOHWKHFKDSWHUFDVHLVSHQGLQJVXFKDVLQVXUDQFHSURFHHGV
              UHFRYHU\RQDQ\ODZVXLWRUFODLPVIRUSHUVRQDOLQMXU\RUSURSHUW\GDPDJHORWWHU\ZLQQLQJVRULQKHULWDQFHV7KHGHEWRU V PXVWREWDLQSULRUFRXUW
              DSSURYDOEHIRUHHQWHULQJLQWRDQ\SRVWSHWLWLRQILQDQFLQJRUERUURZLQJRIDQ\NLQGDQGEHIRUHVHOOLQJDQ\DVVHWV




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        8QOHVVRWKHUZLVHVWDWHGLQWKLVSODQRUSHUPLWWHGE\DFRXUWRUGHUDOOFODLPVRUGHEWVSURYLGHGIRUE\WKHSODQWRUHFHLYHDGLVWULEXWLRQVKDOOEHSDLG
             E\DQGWKURXJKWKHWUXVWHH

        3HUFHQWDJH IHHV WR WKH WUXVWHH DUH SDLG RQ UHFHLSWV RI SODQ SD\PHQWV DW WKH UDWH IL[HG E\ WKH 8QLWHG 6WDWHV 7UXVWHH  7KH WUXVWHH KDV WKH
             GLVFUHWLRQ WR DGMXVW LQWHUSUHW DQG LPSOHPHQW WKH GLVWULEXWLRQ VFKHGXOH WR FDUU\ RXW WKH SODQ SURYLGHG WKDW WR WKH H[WHQW WKH WUXVWHH VHHNV D
             PDWHULDOPRGLILFDWLRQRIWKLVSODQRULWVFRQWHPSODWHGGLVWULEXWLRQVFKHGXOHWKHWUXVWHHPXVWVHHNDQGREWDLQSULRUDXWKRUL]DWLRQRIWKHFRXUW7KH
             WUXVWHHVKDOOIROORZWKLVVWDQGDUGSODQIRUPVHTXHQFHXQOHVVRWKHUZLVHRUGHUHGE\WKHFRXUW

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                    /HYHO7KUHH0RQWKO\RQJRLQJPRUWJDJHSD\PHQWVRQJRLQJYHKLFOHDQGOHDVHSD\PHQWVLQVWDOOPHQWVRQSURIHVVLRQDOIHHVDQG
                                      SRVWSHWLWLRQXWLOLW\FODLPV
                    /HYHO)RXU3ULRULW\'RPHVWLF6XSSRUW2EOLJDWLRQV
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                    /HYHO6L[$OOUHPDLQLQJVHFXUHGSULRULW\DQGVSHFLDOO\FODVVLILHGFODLPVDQGPLVFHOODQHRXVVHFXUHGDUUHDUV
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      $VDFRQGLWLRQWRWKHGHEWRU V ¶HOLJLELOLW\WRUHFHLYHDGLVFKDUJHXSRQVXFFHVVIXOFRPSOHWLRQRIWKHSODQGHEWRU V ¶DWWRUQH\RUGHEWRU V  LIpro se 
            VKDOOILOH/RFDO%DQNUXSWF\)RUP 'HEWRU¶V&HUWLILFDWLRQRI'LVFKDUJH(OLJLELOLW\ ZLWKWKHFRXUWZLWKLQIRUW\ILYH  GD\VDIWHUPDNLQJWKHILQDO
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            %DQNUXSWF\5XOH3URRIVRIFODLPE\WKHWUXVWHHZLOOQRWEHUHTXLUHG,QWKHDEVHQFHRIDFRQWUDU\WLPHO\ILOHGSURRIRIFODLPWKHDPRXQWV
            VWDWHGLQWKHSODQIRUHDFKFODLPDUHFRQWUROOLQJ7KHFOHUNVKDOOEHHQWLWOHGWRUHO\RQWKHDFFXUDF\RIWKHLQIRUPDWLRQFRQWDLQHGLQWKLVSODQZLWK
            UHJDUGWRHDFKFODLP8QOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWLIDVHFXUHGSULRULW\RUVSHFLDOO\FODVVLILHGFUHGLWRUWLPHO\ILOHVLWVRZQFODLP
            WKHQWKHFUHGLWRU¶VFODLPVKDOOJRYHUQSURYLGHGWKHGHEWRU V DQGGHEWRU V ¶DWWRUQH\KDYHEHHQJLYHQQRWLFHDQGDQRSSRUWXQLW\WRREMHFW7KH
            WUXVWHHLVDXWKRUL]HGZLWKRXWSULRUQRWLFHWRSD\FODLPVH[FHHGLQJWKHDPRXQWSURYLGHGLQWKHSODQE\QRWPRUHWKDQ


      $Q\FUHGLWRUZKRVHVHFXUHGFODLPLVQRWPRGLILHGE\WKLVSODQDQGVXEVHTXHQWRUGHURIFRXUWVKDOOUHWDLQLWVOLHQ

      $Q\ FUHGLWRU ZKRVH VHFXUHG FODLP LV PRGLILHG RU ZKRVH OLHQ LV UHGXFHG E\ WKH SODQ VKDOO UHWDLQ LWV OLHQ XQWLO WKH XQGHUO\LQJ GHEW LV GLVFKDUJHG
            XQGHU  86&   RU XQWLO LW KDV EHHQ SDLG WKH IXOO DPRXQW WR ZKLFK LW LV HQWLWOHG XQGHU DSSOLFDEOH QRQEDQNUXSWF\ ODZ ZKLFKHYHU RFFXUV
            HDUOLHU  8SRQ SD\PHQW LQ DFFRUGDQFH ZLWK WKHVH WHUPV DQG HQWU\ RI D GLVFKDUJH RUGHU WKH PRGLILHG OLHQ ZLOO WHUPLQDWH DQG EH UHOHDVHG  7KH
            FUHGLWRUVKDOOSURPSWO\FDXVHDOOPRUWJDJHVOLHQVDQGVHFXULW\LQWHUHVWVHQFXPEHULQJWKHFROODWHUDOWREHVDWLVILHGGLVFKDUJHGDQGUHOHDVHG

      7KHSURYLVLRQVRI6HFWLRQVDQGZLOODOVRDSSO\WRDOORZHGVHFXUHGSULRULW\DQGVSHFLDOO\FODVVLILHGXQVHFXUHGFODLPVILOHGDIWHUWKHEDU
             GDWH LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ ATTORNEY OR DEBTOR(S) (IF PRO
             SE) WILL NOT BE PAID. 7KHUHVSRQVLELOLW\IRUUHYLHZLQJWKHFODLPVDQGREMHFWLQJZKHUHDSSURSULDWHLVSODFHGXSRQWKHGHEWRU V 


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                 1RQH,I1RQHLVFKHFNHGWKHUHVWRISDUWQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

     8QGHU%DQNUXSWF\5XOH F QRQVWDQGDUGSURYLVLRQVPXVWEHVHWIRUWKEHORZ$QRQVWDQGDUGSURYLVLRQLVDSURYLVLRQQRWRWKHUZLVHLQFOXGHGLQWKH
     /RFDO)RUPRUGHYLDWLQJIURPLW1RQVWDQGDUGSURYLVLRQVVHWRXWHOVHZKHUHLQWKLVSODQDUHLQHIIHFWLYH

     The following plan provisions will be effective only if the applicable box in Part 1 is checked. Any provision set forth herein is subject to
     court approval after notice and a hearing upon the filing of an appropriate motion.




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     FHUWLILFDWLRQVVKDOOVXEMHFWWKHVLJQDWRULHVWRVDQFWLRQVXQGHU%DQNUXSWF\5XOH

     By filing this document, debtor(s)’ attorney or debtor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this
     chapter 13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the United States Bankruptcy
     Court for the Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that
     any deviation from the standard plan form shall not become operative unless it is specifically identified as a “nonstandard” term and is
     approved by the court in a separate order.




     ; /s/Vonnette M. Warren                                                         ;
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     ; /s/Dennis J. Spyra                                                           'DWH
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